                                                                                                      LIC/REG NO.


          The An~l Welfare Regulations, 9 CFR, Part. l, 'Silbpoilrt A, Sect.iol,l ~_.:tj, requires
          all. Ueenilees and registrants t 0 , ?.evelop, cc!OC:!'JIIjt,r,ot and fol1ow an approprl.al:e
          exercise plan for their dogs. In :addition* the_ ex!!!J1C:i~ plan :must: be approved
          by __ the a;t-tendi~p ______ve_ter lnari._n .. ~:-·In_-. ___d~vel_or:i~9--:-::~-~-~:>l!x~~s+:~~-> :··p:l~n., you _sb():U_'Id'
                c:onsi.der proViidi.ng_ 1>9sitive j,illyaical -conta:ct,'>(ith hi.Jm"!ll~ that encouraqes exercise
               throuqb play' or t~inifl~·r act}yi.ti~ll' c:tf' 'dogll; if.re maintained \without sensory
       ----- ,::t:onf:,ilct wi_th other dclq~f.,!ilteY •st_be provi.ided w.i.!;,!t daiSly physical contact with
  - '-          humllnao l"orced metltclls of e~rcl11e•, such 'i!'i> tre"!~il"ls, swi.mllling or caroousel
                are unaccept_":!>i"'' _for meeting tite,exerc:ise requirements.
                           ~:·=< _,'_ -''-~-_;:~~~~~~'-- ·>.-_=:.<-: .-.- -..... ·:_,·,: - - ,~' .
                Please     ¢beck:      ,;~~~'i'~r9;priilte -~: ar,o~< _ if•r,>•:'"'eillaary, describe below •
•

          Kl       ilr~~>gauare_o_r'-i2~e~i. ~f'~~(~c:G9t                 bitches with l.itters), and are
                   M1.uied indiY.idualilY L(! ~ c:&IJ<!!~ ~l,l ~>:: Zli~ t!tllli: provides at Least two times
                   the floor aP.&i:e requiril!l fQr -that dog. ·'"" di\>8cribed in seet.loll l . 6 1c:) fll •


         fJ        My dqgs are over 12 weeks of aqe and are ilcili.•ed .i.D coapo11.tiJ>U• groups in
                   a c&life, pen: or run that provides, in total, 'at. least tcoo percent. of the
                   r.!Oqllired apace for each doq if it were maintained separatel.y.
         ·{   ;} , Jltber:   Please describe the exercise provUII!d to your dogs>ito meet these
                   -·requirements (type or. prttlt legibly) •




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                                                                                ·                            for
                   .,,~~~~,!jr~:" .exerciae .P'!•n;\~or "'l' iii;!'~~· at)il ,\her~•.·.· ~~1:i. :thiS ~p:tete«;~
                                          for.~· ·to ......,.t'''tllllt ;r!Oqll~~·-,




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